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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 18-CR-20685-WILLIAMS

   UNITED STATES OF AMERICA

   vs.

   GUSTAVO ADOLFO HERNANDEZ FRIERI,

         Defendant.
   ________________________________________/

                   THE GOVERNMENT’S SENTENCING MEMORANDUM

          Defendant Gustavo Adolfo Hernandez Frieri is scheduled to be sentenced Thursday, March

   25, 2021, at 1 p.m. The Government respectfully submits this memorandum in connection with

   that sentencing. The defendant’s United States Sentencing Guidelines (“Sentencing Guidelines”)

   objections are unpersuasive, and his Sentencing Guidelines range is calculated properly by the

   United States Probation Office (“Probation Office”). As for a variance, the Government still has

   not received any pleading from the defendant and the Government reserves the right to supplement

   our position based on any relevant filing the defendant may submit.

                                  PRELIMINARY STATEMENT

          The defendant, a sophisticated, international businessperson with a law degree, repeatedly

   used his financial advisory firm, Global Security Advisors (“GSA”), and other entities under his

   control, including Global Securities Trade Finance (“GSTF”), to launder over $12 million

   obtained, in part, from co-defendant Abraham Ortega (“Ortega”), which were bribe payments in

   exchange for Ortega’s corrupt acts and decisions in his official capacity as Executive Director of

   Financial Planning at Petróleos de Venezuela, S.A. (“PDVSA”). The defendant’s conduct in
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   laundering such a large amount of bribes paid to a high-ranking PDVSA official warrants

   substantial punishment.

          The defendant’s Sentencing Guidelines range reflect his extensive, deliberate, and serious

   criminal conduct. For what he did, the defendant faces an advisory Sentencing Guidelines range

   of 97 to 121 months’ imprisonment and $30,000 to $24 million fine, as set forth in the Probation

   Office’s Presentence Investigation Report (“PSI”), in which the Probation Office recommends a

   sentence of 97 months’ imprisonment and a $30,000 fine. [ECF No. 331-3.] The Government

   submits that to serve the legitimate purposes of sentencing, including promotion of respect for the

   law and deterrence, the Court should impose a more substantial sentence than that recommended

   by the Probation Office, one that falls in the middle to high end of the Sentencing Guidelines range.

                                           BACKGROUND

          The defendant engaged in an international money laundering conspiracy involving three

   separate schemes over the course of more than a year between 2016 and 2017, in which he

   laundered more than $12 million in U.S. currency through accounts in the United States, as more

   fully described in the defendant’s signed Factual Proffer [DE 165].

          First, the defendant conspired with Ortega to launder $7 million of the $10 million that

   Ortega received as a bribe payment for his participation in the Companies C-D Loan Scheme

   involving PDVSA. The defendant directed that this $7 million bribe payment be transferred to

   U.S. Financial Institution 1 in New Jersey, GSTF’s custodial bank. On or about May 26, 2016, at

   the direction of Ortega and the defendant, the Confidential Source (“CS”) transferred $7 million

   to account number xxxx5724 at U.S. Financial Institution 1 in the name of GSTF, a Cayman Islands

   entity, which was a fund that the defendant controlled as director and through which, in furtherance

   of the money laundering scheme, he caused shares issued that were exclusively subscribed to by



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   Ortega.     This $7 million was used to purchase shares in GSTF, which were then held in

   account/portfolio number xxxx9020 at Banca Zarattini in Switzerland in the name of Big Green

   Valley SA (a shell company controlled by Ortega).

             Second, the defendant conspired with Ortega to launder $5 million that Ortega received as

   a bribe payment for his participation in a Joint-Venture Scheme involving PDVSA. On February

   21, 2017, the defendant emailed the CS subscription instructions and a subscription agreement for

   a new class of GSTF shares. This class was specifically created by the defendant to receive

   Ortega’s money. On or about February 28, 2017, at the direction of Ortega and the defendant, the

   CS transferred approximately $5 million from the CS’s account/portfolio number xxxx3311-00 at

   Deltec Bank & Trust Limited in Nassau, Bahamas (which was an account in which the CS held a

   portion of Ortega’s funds) to account number xxxx6054 at U.S. Financial Institution 1 in New

   Jersey in the name of GSTF. On March 14, 2017, the $5 million was further transferred to account

   number xxxx2421 at U.S. Financial Institution 1 in the name of GSTF.

             Finally, the defendant agreed to launder additional funds unrelated to the PDVSA schemes.

   On January 10, 2017, the CS wired $300,000 from an undercover law enforcement account in the

   Southern District of Florida to a U.S. Wells Fargo account held by Global Securities Management

   LLC, another entity associated with the defendant. Based on his conversations and interactions

   with the CS, the defendant was aware that there was a high probability that the $300,000

   constituted criminally derived proceeds, and the defendant conducted the financial transactions

   at issue intending to conceal the true illegal origin of the money.

         THE PSI AND THE GOVERNMENT’S SENTENCING RECOMMENDATION

             The Probation Office sets the defendant’s base offense level at 28 because the base offense

   level for the count of conviction is eight and there is a 20-level increase pursuant to the table in



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   Section 2Bl.l(b)(l) of the Sentencing Guidelines because the value of the laundered funds exceeds

   $12,000,000. [ECF No. 331 ¶ 93]. The Probation Office then imposes a two-level enhancement

   because the defendant was convicted under 18 U.S.C. § 1956 pursuant to Section 2S1.1(b)(2)(B)

   of the Sentencing Guidelines. [Id. at ¶ 94]. The defendant also receives a two-level enhancement

   for sophisticated laundering pursuant to 2S1.1(b)(3) of the Sentencing Guidelines. [Id. at ¶ 95].

   Because the defendant accepted responsibility for the offense, the offense level is decreased by

   two levels pursuant to Section 3E1.1(a) of the Sentencing Guidelines. [Id. at ¶ 101]. The Probation

   Office correctly notes that the Government does not intend to file a motion seeking an additional

   one-level decrease pursuant to Section 3E1.1(b) of the Sentencing Guidelines [Id. at ¶ 102]

   because the defendant has failed “to fully assist in the forfeiture of assets as set forth in this plea

   agreement.” [ECF No. 163 at ¶¶ 7 and 14.]

          In accordance with the above, the defendant’s total offense level is 30. [Id. at ¶ 103]. The

   defendant has no known prior convictions, so his criminal history category is I. [Id. at ¶ 106].

   Based upon these calculations, the defendant’s advisory Sentencing Guidelines range is 97 to 121

   months’ imprisonment. [Id. at ¶ 161]. Taking into account all of the factors set forth in 18 U.S.C.

   § 3553(a), including the defendant’s age and background, the nature and circumstances of his

   offenses, and the need to avoid unwarranted sentencing disparities, the Probation Office

   recommends a sentence of 97 months’ imprisonment and a $30,000 fine. [ECF No. 331-3].

          The Government concurs with the Probation Office’s calculation of the Sentencing

   Guidelines, however, respectfully submits that to serve the legitimate purposes of sentencing,

   including promotion of respect for the law and deterrence, the Court should impose a more

   substantial sentence than that recommended by the Probation Office, one that falls in the middle

   to high end of the Sentencing Guidelines imprisonment range.



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               THE DEFENDANT’S UNRESOLVED OBJECTIONS TO THE PSI

          According to the Addendum to the PSI [ECF No. 331-1], the following objections by the

   defendant to the PSI remain unresolved. While incorporating by reference our Response to the

   Defendant’s Objections to the Presentence Investigation Report [ECF No. 293], we respond briefly

   below to his specific remaining concerns as contained in his Sentencing Memorandum Part A –

   Objections to the Pre-Sentence Report and Sentencing Guidelines Calculations (“Sentencing

   Memo”) [ECF No. 345]:

          First, the Government takes issue with the defendant’s characterization in his introduction

   to his Sentencing Memo that “[the defendant] was brought into the orbit of Money Flight under

   the watchful eyes of federal agents and with the urging of their Confidential Source.” This

   statement is misleading and in direct contradiction of the defendant’s signed Factual Proffer which

   states, “[d]uring a recorded meeting in Panama on April 2, 2016, Ortega introduced the CS to [the

   defendant]” [ECF No. 164 at ¶ 9 (emphasis added)]. The defendant was brought into the

   conspiracy by Ortega, not the CS. [See also ECF No. 3 at ¶¶ 61-62 and ECF No. 331 at ¶¶ 47-48].

          1. Objection to Paragraph 11

          The defendant objects to the inclusion that he was under “home confinement” in Italy.

   According to information provided by the United States Department of Justice, Office of

   International Affairs, the defendant was arrested in Italy on July 25, 2018, where he was on

   vacation, and placed on house arrest at his hotel by the Messina court of appeal on July 30, 2018.

   The Italian court in August 2018 rejected a government request to place him back in custody, but

   also rejected his request to be authorized to leave the hotel. The Italian Supreme Court of Cassation

   in March 2019 rejected the defendant’s appeal against extradition, and also his appeal against the

   house arrest orders. The Italian Minister of Justice issued the extradition decree on April 10, 2019



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   and he was extradited on May 2, 2019. Based on this information, the Government concurs with

   Probation Office’s description as factually accurate and requests the Court to overrule the

   Defendant’s objection.

          2. Objections to Paragraphs 16-43, 49-50, 55, 56, and 58-76

          The defendant makes a series of objections to the Offense Conduct section at the start of

   the PSI. The defendant does not identify any factual inaccuracies with these paragraphs, and

   instead argues that it should be explicitly noted that he was not involved in any of the conduct

   described in paragraphs 16-43, 49-50, 55, 56 and also was not involved in the conduct nor does he

   know Matthias Krull, described in paragraphs 58-76. The Offense Conduct section – which is only

   meant to be a summary of the evidence that supports a defendant’s plea – accurately identifies the

   key facts upon which the defendant’s plea is based, and is both accurate and concise. The

   Government’s position is that none of these paragraphs allege that the defendant participated in

   the conduct described nor that he knew Matthias Krull, and the Court should overrule the

   defendant’s objections.

          3. Objections to Paragraphs 94, 98, and 102 (Sophisticated Laundering
             Enhancement)

          As discussed in the Government’s Response to the Defendant’s Objections to the PSI [ECF

   No. 293], the Government submits that the sophisticated money laundering enhancement under

   Section 2S1.1(b)(3) of the Sentencing Guidelines is both unambiguous and appropriate, and that

   the Probation Office correctly concluded that it was applicable. Under this section, sophisticated

   money laundering is defined as a “complex or intricate offense conduct pertaining to the execution

   or concealment of the 18 U.S.C. § 1956 offense.” U.S.S.G. § 2S1.1(b)(3) cmt. n. 5(A). It

   “typically involves the use of” 1) “fictitious entities”; 2) “shell corporations”; 3) “two or more

   levels (i.e., layering) of transactions, transportation, transfers, or transmissions, involving

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   criminally derived funds that were intended to appear legitimate”; or 4) “offshore financial

   accounts.” Id. cmt. n. 5(A)(i)-(iv).     Although use of any one of these would justify the

   enhancement, the defendant used multiple layers, shell corporations, and offshore financial

   accounts to further the money laundering scheme. See United States v. Feldman, 931 F.3d 1245,

   1263-64 (11th Cir. 2019) (affirming 2-level enhancement for a single-member, publicly registered

   limited liability company providing only one layer of insulation); United States v. Suraneni, 346

   F. App’x 416, 418-19 (11th Cir. 2009) (unpublished) (affirming enhancement for money-

   laundering scheme that involved two or more layers of transactions and the use of a shell

   corporation to conceal the source of illicitly derived funds); United States v. Ellis, 817 F. App’x

   780, 791 (11th Cir. 2020) (unpublished) (affirming enhancement for the use of fictitious

   transactions, shell corporations, and offshore accounts).

          Specifically, the defendant advised codefendant Ortega “how he [] could invest money

   using his [] investment advisor firm. [ECF No. 164 at ¶ 9]. He “explained that we’ll make the

   transactions in such a way that the purchase will be legitimate” and he “went on to explain how he

   can avoid being tracked by the authorities that track financial transactions.” [Id. at ¶ 10]. The

   defendant directed the transfer of Ortega’s $7 million bribe payment to a U.S. bank into an account

   held by a Cayman Islands entity controlled by the defendant (Transaction 1). The defendant then

   caused this entity to “issue[] shares to be exclusively subscribed to by Ortega in furtherance of the

   money laundering scheme.” [Id. at ¶ 11]. The $7 million was then used to purchase those shares

   (Transaction 2). [Id.]. Those shares “were then held in account/portfolio number xxxx9020 at

   Banca Zarattini [an offshore account located in Switzerland] in the name of Big Green Valley SA

   (a shell company controlled by Ortega)” (Transaction 3). The defendant also “created contracts

   between Great Walls FS (a British Virgin lslands shell company controlled by Ortega) and a



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   company affiliated with [the defendant]” to allow Ortega access to some of the funds. (Transaction

   4). [Id. at ¶12; see also Id. at ¶¶ 14-15 (defendant also used much the same layering scheme to

   launder Ortega’s $5 million bribe]. More than $9.2 million of funds traceable to Ortega’s bribery

   proceeds were transferred to foreign accounts, including to accounts in Colombia. (Transaction 5)

   [ECF No. 239 at 4; ECF No. 243 at 3; ECF No. 273 at 6]. The defendant acknowledged that more

   than $2 million traceable to Ortega’s funds were also invested in or loaned to domestic entities

   associated with the defendant, including Domaine Select Wine and Spirits, Alpha Financial

   Products, Ltd., and Global Securities Management LLC, which is the same entity that the

   defendant used to receive and launder the $300,000 that was not derived from Ortega. [ECF No.

   273, at 6; ECF No. 165 at ¶ 17]. At a minimum, the defendant, by his own admission, created at

   least five layers—if not more—designed to make Ortega’s funds and other illicit money appear

   legitimate.

          The defendant disputes the applicability of the two-level sophisticated laundering

   enhancement in his Sentencing Memo. He begins his argument by providing the definition of

   sophisticated laundering under Section 2S1.1(b)(3) cmt. n. 5(A), and then providing the definition

   of sophisticated means under Section 2B1.1, Subsection (b)(10)(C). What the defendant fails to

   do is note that he pleaded guilty to money laundering, not acts of fraud or other offenses involving

   theft or counterfeiting and therefore, as discussed above, and not disputed by the defendant, his

   base offense level under the Sentencing Guidelines falls under Section 2S 1.1(a)(2) [ECF No. 163

   at ¶ 11(i)] not Section 2B1.1. As such, any reliance on the definition contained in Section 2B1.1,

   Subsection (b)(10)(C) would be an incorrect application of the Sentencing Guidelines, as is the

   defendant’s reliance on United States v. Landwer (640 F.3d 769 (7th Cir. 2011)) and United States

   v. Adepoju, 756 F.3d 250 (4th Cir. 2014). Both were fraud cases and not money laundering cases.



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          Further, the defendant fails in his attempt to bring forward persuasive authority supporting

   his claim that the sophisticated money laundering enhancement should not apply. Neither one of

   the two Eleventh Circuit cases cited by the defendant, United States v. Salgado, 745 F. 3d 1135

   (11th Cir. 2014) and United States v. Puche, 350 F.3d 1137 (11th Cir. 2003), involve the application

   of the sophisticated laundering enhancement. Likewise, the defendant’s comparison of those

   Eleventh Circuit cases to a First Circuit case, United States v. Torres-Velasquez, 480 F. 3d 100 (1st

   Cir. 2007), is equally confusing as that case does not involve the application of the sophisticated

   laundering enhancement either.

          Finally, the defendant’s reliance on United States v. Eckstein, (10th Circuit, District of New

   Mexico, 2016), United States v. Jarrett, (N.D. Ind. 2011), and United States v. Maddux (E.D.

   Kentucky, 2016), all district court cases falling outside of the Eleventh Circuit, is equally

   unavailing. In Eckstein, the Government conceded that the defendant did not own, list, or create

   the fictitious entities that he paid with checks from his own legitimate companies. Here, and

   discussed above, however, the defendant used at least five layers—if not more—designed to make

   Ortega’s funds and other illicit money appear legitimate. In Jarrett, the defendant created false

   stock purchase agreements and certificates, but the record is void of any other example of

   sophisticated laundering and as just discussed, the defendant in this case used multiple layers to

   conceal his transactions. Last, in Maddux, the defendant employed fictitious entities and only one

   layer which is easily distinguishable from the multiple layers used by the defendant in this matter.

          Respectfully, the Court should deny the defendant’s argument and apply the two-level

   sophisticated laundering enhancement for the reasons set forth above.




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           4. Objection to Paragraph 109

           The defendant seeks deletion of the traffic offenses contained in this paragraph. The

    Government concurs with the Probation Office’s description as factually accurate and submits that

    the defendant’s conduct as described goes to the characteristics of the defendant under 18 U.S.C.

    § 3553(a) as it relates to specific deterrence discussed further below. As such, the Government

    requests the Court to overrule the defendant’s objection.

           5. Objection to Paragraph 171

           The defendant objects to the Probation Office’s conclusion that there is no identifiable

    basis for a variance. The Government’s position is that the Court is free under the law to identify

    a basis for a variance from the Sentencing Guidelines.

                   GOVERNMENT’S ARGUMENT UNDER 18 U.S.C. § 3553(a)

           Every one of the relevant factors set forth in 18 U.S.C. § 3553(a) strongly weighs in favor

    of a substantial term of imprisonment.

           1. The Nature and Circumstances of the Offense and the History and Characteristics
           of the Defendant

           First, the nature and circumstances of the offense warrant a sentence in the middle to high

    end of the Sentencing Guidelines range. The defendant willfully conspired to launder a total of

    approximately $12 million that were given to Ortega as bribe payments in exchange for Ortega’s

    corrupt acts and decisions in his official capacity as Executive Director of Financial Planning at

    PDVSA. In addition, the defendant agreed to launder an additional $300,000 apart from Ortega’s

    monies.

           The defendant calculatingly used his businesses and his financial knowledge so that

    financial transactions involving Ortega’s funds would appear legitimate and the bribe proceeds

    would be available to be directed anywhere for his and Ortega’s benefit. Further, the defendant’s

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    criminal activity in this case was not isolated; on the contrary, it extended for more than the course

    of one year during the conspiracy. During that time, the defendant continued to engage in unlawful

    conduct, participating in three separate money laundering schemes between 2016 and 2017. A

    sophisticated, international businessperson with a law degree, like the defendant, should have

    rejected Ortega’s business and the CS’s business; instead the defendant placed himself in a

    pervasive corrupt money laundering conspiracy, triggering his liability. Further, the defendant

    appears to have laundered Ortega’s funds for his own benefit, bolstering a company in which he

    had made other investments. For example, in 2016 and 2017, the defendant used approximately

    $2 million of Ortega’s money to acquire now-forfeited Series A convertible notes in Domaine

    Select Wine and Spirits (“DSWS”), investing approximately $1 million in the defendant’s own

    name. [ECF No. 146, at 2; ECF No. 165 at ¶ 17]. Among his current assets, the defendant states

    that he invested a total of approximately $437,000 in February and April 2017 in DSWS, but “[t]o

    date the value of the DSWS Series A convertible debt remains uncertain.” [ECF No. 238-4.]

           Second, as to the defendant’s personal history and characteristics, there is nothing

    remarkable about the defendant’s age, education, physical or mental capacity, or family

    circumstances that suggests that he cannot be imprisoned for a term appropriate to his crime. He

    may argue that he is entitled to leniency because he has no criminal history. While it is true that

    the defendant has no prior criminal record, he admitted to participating in three separate money

    laundering schemes over a greater than one year span; his conduct was not an isolated act. Without

    knowing the defendant’s argument, the Government reserves the right to supplement our position

    based on any relevant filing the defendant may submit.




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           Simply put, the defendant’s personal history and characteristics do not justify a substantial

    deviation from his Guidelines range, a range that is consistent with the nature and circumstances

    of his offense.

           2. The Need to Reflect the Seriousness of the Offense, to Promote Respect for the
           Law, and to Provide Just Punishment for the Offense

           The defendant’s offense was extremely serious. As the U.S. Department of State explained

    in 2001:

                      Money laundering has devastating social consequences and is a threat to national
                      security. It provides the fuel for drug dealers, terrorists, illegal arms dealers, corrupt
                      public officials and other criminals to operate and expand their criminal enterprises.
                      Crime has become increasingly international in scope, and the financial aspects of
                      crime have become more complex, due to rapid advances in technology and the
                      globalization of the financial services industry. Modern financial systems, in
                      addition to facilitating legitimate commerce, permit criminals to order the transfer
                      of millions of dollars instantly, using personal computers and satellite dishes. The
                      criminal's choice of money laundering vehicles is limited only by his or her
                      creativity. Money is laundered through currency exchange houses, stock brokerage
                      houses, gold dealers, casinos, automobile dealerships, insurance companies, and
                      trading companies. Private banking facilities, offshore banking, shell corporations,
                      free trade zones, wire systems, and trade financing all have the ability to mask
                      illegal activities. In doing so, criminals manipulate financial systems in the United
                      States and abroad.

                      Unchecked, money laundering can erode the integrity of a nation's financial
                      institutions. Due to the high integration of capital markets, money laundering could
                      also adversely affect currencies and interest rates as launderers reinvest funds where
                      their schemes are less likely to be detected, rather than where rates of return are
                      higher.

                      Ultimately, this laundered money flows into global financial systems where it could
                      undermine national economies and currencies. Money laundering is thus not only
                      a law enforcement problem but poses a serious national and international security
                      threat as well.

    U.S. Department of State, Money Laundering and Financial Crimes Report, available at
    https://2009-2017.state.gov/j/inl/rls/nrcrpt/2000/959.htm.

           Imposing a below-Guidelines sentence would fail to reflect the seriousness of the

    defendant’s offense as well as the threat posed by money laundering more generally, provide

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    inadequate punishment for the defendant’s crime, and send completely the wrong message about

    respect for our money laundering laws.

           3. The Need for Adequate Deterrence

           This factor also weighs in favor of a substantial sentence. It is particularly challenging to

    investigate and prosecute successfully international money laundering and corruption schemes,

    especially where, as here, the scheme involves individuals and actions in multiple countries,

    foreign bank accounts, and other evidence that is located abroad. This means that when such a

    scheme is uncovered, and a defendant convicted, a substantial sentence is warranted. See, e.g.,

    United States v. Heffernan, 43 F.3d 1144, 1149 (7th Cir. 1994) (“Considerations of (general)

    deterrence argue for punishing more heavily those offenses that either are lucrative or are difficult

    to detect and punish, since both attributes go to increase the expected benefits of a crime and hence

    the punishment required to deter it.”); United States v. Martin, 455 F.3d 1227, 1240 (11th Cir.

    2006) (“Because economic and fraud-based crimes are more rational, cool, and calculated than

    sudden crimes of passion or opportunity, these crimes are prime candidates for general deterrence.”

    (internal quotation marks omitted)); United States v. Mueffelman, 470 F.3d 33, 40 (1st Cir. 2006)

    (deterrence of white-collar crime is “of central concern to Congress”).

           Thus, the Court should impose a sentence significant enough to deter others from using the

    U.S. financial system to launder illicit funds. The Court cannot leave the impression that money

    laundering merits only a few years in jail, or can be outweighed by a defendant’s good conduct in

    other respects.

           4. To Protect the Public From Further Crimes of the Defendant

           This is not a situation where the defendant, because of age or health, is no longer capable

    of carrying out his criminal activity. What he did could be carried out by anyone with his



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    background and experience at any age or condition with access to a phone, a computer, and a bank

    account. As noted in the U.S. Department of State Report above, “[t]he criminal’s choice of money

    laundering vehicles is limited only by his or her creativity.” In addition, while not relevant for

    criminal history calculation purposes, the defendant has been issued 31 traffic citations since 2001

    with multiple citations for the same offenses. [ECF No. 331, at ¶ 110]. Based on his record, the

    defendant is not an individual who shows respect for the law and is someone who is not easily

    deterred from committing the same offense more than once. He should be made to understand that

    the crime of money laundering is a serious federal offense with serious consequences.

           Moreover, the defendant has previously failed to heed the orders of this Court in this case.

    In two instances, when the defendant engaged in conduct that, at a minimum, was inconsistent

    with the spirt of Court orders, he failed to acknowledge his transgressions and instead focused on

    his ultimate lack of success in accomplishing his objective. First, after his arrest on a detailed

    Criminal Complaint, the defendant sought, as director of GSTF and GSA, to access GSTF’s

    account number xxxx6054. This account had been used to launder Ortega’s money, as set forth

    above, and, accordingly, had been restrained for forfeiture by this Court. [ECF No. 32; ECF No.

    51; see also supra 2]. The United States provided notice to the Court of this incident, and the

    defendant responded in the following manner: “Accounts have not been touched. Nothing has

    occurred to cause any ‘selling, transferring, assigning, pledging, distributing, giving away,

    encumbering or otherwise participating in the dissipation, disposal . . . or removal form the

    jurisdiction of the Court’ of these assets.” [ECF No. 52 (underline in original)].

           Later, at his bond proceedings, the defendant was ordered to pledge his interest in his

    Miami residence at 597 Hibiscus Lane, and not to “attempt to encumber properties or

    investments.” [ECF No. 101, at 19; ECF No. 103]. After he was released on bond, and without



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    leave of the Court or advance notice to the Government, the defendant resigned as co-trustee of

    the revocable trust that held title to the Miami residence, and committed “to resign as co-settlor”

    as part of his marital settlement with his now ex-wife. [ECF No. 238; ECF No. 238-10; ECF No.

    238-11]. The defendant, via his counsel, recently addressed this potential bond violation, stating

    “[t]he fact that on October 1, 2019, Mr. Hernandez resigned as co-trustee in no way affected Mr.

    Hernandez’s interest in the Miami property. . . . no transfer of interest occurred, and Mr.

    Hernandez’s action in resigning in no way encumbered or alienated the property contrary to his

    bond restrictions.” [ECF No. 332 (underline in original)].

            While the Government agrees that the defendant was unsuccessful in both instances, the

    defendant still acted in a manner inconsistent with the Court’s orders.            Rather than take

    responsibility for his conduct, the defendant has sought to recast his actions and explain them

    away.

            As discussed above, the defendant has also failed to properly assist the Government in

    identifying his actual financial condition, as required by the defendant’s plea agreement. The

    Government has attempted to gather documents and information from the defendant concerning

    his financial condition, but he has failed to meaningfully “assist” the Government in that process,

    as he agreed to do in his plea agreement, instead forcing the Government to issue subpoenas and

    call witnesses to determine whether the family trusts that the defendant claims own and control

    the property are/were legitimate or actually just a veil hiding the fact that the defendant ultimately

    owned and controlled the property. [DE 163 at ¶ 14.] In fact, the Government recently learned

    that the defendant entered into a Joint Defense Agreement with his ex-wife because they have a

    common legal interest and strategy as it relates to certain disputed property and have apparently

    worked together to oppose forfeiture with respect to that property. This lack of cooperation as to



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    financial disclosure and substitute assets indicates that the defendant has not learned from his past

    criminal conduct to which he pleaded guilty, highlighting the importance of considering specific

    deterrence in the determination of his sentence.

           5. To Provide the Defendant with Needed Educational or Vocational Training,
           Medical Care, or Other Correctional Treatment in the Most Effective Manner

           While reserving the right to supplement our position based on any relevant filing the

    defendant may submit, the Government submits that these factors are not a central basis for

    sentencing in this case.

           6. The Kinds of Sentences Available

           While reserving the right to supplement our position based on any relevant filing the

    defendant may submit, the Government submits that this factor does not affect the analysis. There

    can be no serious argument for any sentence other than imprisonment for this defendant who

    pleaded guilty to conspiracy to commit money laundering.

           7. The Kinds of Sentence and the Sentencing Range

           As discussed above, the defendant’s Sentencing Guidelines range is 97 to 121 months’

    imprisonment. The Government submits that to serve the legitimate purposes of sentencing,

    including promotion of respect for the law and general deterrence, the Court should impose a

    substantial sentence of imprisonment, one that falls in the middle to high end of the Sentencing

    Guidelines range.

           8. Any Pertinent Policy Statement Issued by the Sentencing Commission

           There are no policy statements in the Sentencing Guidelines that justify a substantial

    variance for the defendant. If anything, the only relevant policy statement referenced by the

    defendant cuts against undue leniency. As discussed above, the defendant specifically objected to

    paragraph 171 of the PSI, positing that there were ample grounds for a departure or variance. In

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    his filing, the defendant specifically included reference to his significant charitable activities. [ECF

    No. 290-1]. The Sentencing Guidelines, however, say, as a matter of policy, that there are limits

    to a sentencing court’s consideration of a defendant’s prior good deeds. U.S.S.G. § 5H1.11

    (“Civic, charitable . . . and similar prior good works are not ordinarily relevant in determining

    whether a departure is warranted”). The Government reserves the right to supplement our position

    based on any relevant filing the defendant may submit implicating other policy statements.

            9. The Need to Avoid Unwarranted Sentence Disparities Among Defendants with
            Similar Records Who Have Been Found Guilty of Similar Conduct

            The purpose of the Sentencing Guidelines is to ensure “reasonable uniformity in sentencing

    by narrowing the wide disparity in sentences imposed for similar criminal offenses committed by

    similar offenders.” U.S.S.G. Ch. 1.3. Application of a within-Guidelines sentence preserves

    uniformity among sentences. The Government is unaware of any unwarranted disparity between

    the defendant’s proposed sentence and others, however, we reserve the right to supplement our

    position based on any relevant filing the defendant may submit.

            10. The Need to Provide Restitution to Any Victims of the Offense

            There is no issue of restitution in this case, § 3553(a)(7), so that factor is not addressed

    here.

                                              CONCLUSION

            For the reasons set forth above, the Government respectfully requests that the Court (1)

    adopt the factual findings in the PSI and its calculation of the defendant’s advisory Sentencing

    Guidelines range, (2) deny the defendant’s objections to the PSI, and (3) impose a substantial term

    of imprisonment at the middle or high end of the applicable Guidelines range of 97 to 121 months’

    imprisonment, along with a substantial fine, which would be sufficient but not greater than

    necessary to serve the legitimate purposes of sentencing.

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          Respectfully Submitted,

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                                       CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on March 19, 2021, I electronically filed the foregoing

    document with the Clerk of the Court using CM/ECF, which will serve a Notice of Electronic

    Filing on all counsel of record.


                                               /s/ Paul A. Hayden
                                               PAUL A. HAYDEN
                                               Trial Attorney




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